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10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
       GREGORY DYNABURSKY, as an                     Case No.: SACV 12-02210 JST (RNBx)
13
       individual and on behalf of all others
14     similarly situated,                           (Assigned for all purposes to the Hon.
                                                     Josephine Staton Tucker in courtroom
15                                                   10A)
                     Plaintiff,
16           vs.                                     MEMORANDUM OF POINTS
                                                     AND AUTHORITES IN SUPPORT
17                                                   OF PLAINTIFF’S MOTION FOR
       ALLIEDBARTON SECURITY                         CLASS CERTIFICATION
18
       SERVICES, LP and ALLIEDBARTON
19     SECURITY SERVICES, LLC; and                   Date:            May 3, 2013
       DOES 1 through 50, inclusive,                 Time:            2:30 p.m.
20
                                                     Courtroom:       10A
21                  Defendants.                      Judge:           Hon. Josephine Staton
22                                                                    Tucker
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 1     I.      INTRODUCTION
 2             There is absolutely no rest for the weary. That phrase epitomizes Defendant
 3     ALLIEDBARTON SECURITY SERVICES, LP’s (hereinafter “Defendant” or
 4     “Allied”)1 undisputed class-wide written policy that forbids its security officers
 5     from resting during their legally mandated meal and rest breaks. As will be further
 6     discussed herein, this admitted policy, not only applies to the entire Class, but is
 7     directly at odds with California’s strict meal and rest break laws, which are
 8     intended to allow employees to enjoy unfettered rest during their meal and rest
 9     breaks. This policy alone, and based on established case-law from this District and
10     other Districts, is sufficient evidence for this Court to grant this Motion.
11             Defendant provides security services throughout the United States, including
12     California, by placing their security officers at various clients’ business locations.
13     Deposition of Michael Smidt 2 16:16-24. Plaintiff, on behalf of the Class of over
14     15,000 California security officers, including three (3) Subclasses, move for
15     certification based on Defendant’s unlawful statewide policies, practices, and
16     procedures. Specifically, Defendant’s class-wide policies and procedures resulted
17     in: (1) meal and rest period violations due to a uniform mandatory written policy
18     that precludes security officers from resting during their meal and rest breaks ; (2)
19     violation of labor code §226; and (3) unfair business practices.
20             All the requirements of Rule 23 are met. Plaintiff, who is a member of the
21     Class(es) and Subclass(es), can establish his claims in a readily manageable trial
22     using common proof on behalf of the current and former California security officer
23
24     1
         While Plaintiff’s Complaint names both AlliedBarton Security Services LP and AlliedBarton
       Security Services LLC as co-defendants, Plaintiff only seeks this Motion against Defendant
25     AlliedBarton Security Services LP as Defendant has admitted it is the only entity that employs
       security officers in California and that AlliedBarton Security Services LLC does not employ
26     anyone in California.
       2
27       Cited transcript excerpts of the FRCP 30(b)(6) deposition of Defendant’s designated witnesses
       testifying for the company, Michael Smidt and Kevin Hudson, are attached to the Declaration of
28     Larry W. Lee (hereinafter “Lee Decl.”) ¶ 2, as Exhibits “A” and “B” respectively. Mr. Smidt’s
       deposition shall hereinafter be cited to as “Smidt Dep. page:line” and Mr. Hudson’s deposition
       shall hereinafter be cited to as “Hudson Dep. page:line.”
                                                      1

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 1     employees of Defendant. Defendant’s undisputed and admitted records and
 2     statewide company policies and practices are uniformly applied and result in
 3     common detriment to the Classes and Subclasses. Each of the alleged violations
 4     constitutes a common and predominant legal issue. Further, even the defenses
 5     Defendant will likely raise, support certification because they are class-wide
 6     defenses, for example, that Defendant’s ”On-Duty Meal Period Agreement” is
 7     valid. Further defenses regarding frequency of damages can be easily addressed.
 8     Therefore, class certification is proper.
 9     II.      RELEVANT FACTS AND LAW
10              Labor Code § 226.7 requires employers to provide meal breaks to employees
11     in compliance with the applicable California Industrial Welfare Commission
12     (“IWC”) Wage Order, which in this case, is IWC Wage Order No. 4. Section 11(a)
13     of said IWC Wage Order provides that employees who work in excess of five
14     hours a day must be provided with a 30-minute meal break and, further, that
15     employees who work in excess of ten hours per day must be provided with a
16     second 30-minute meal period. The 30-minute meal break can be mutually waived
17     if the employee’s total work shift is 6 hours or less. Further, as the IWC Wage
18     Order holds, such meal periods must be unfettered – i.e., when taking such meal
19     periods, the employee must be “relieved of all duty” during the entire 30-minute
20     meal period. IWC Wage Order No. 4 § 11(a) (emphasis added). Indeed, this was
21     recently affirmed by the California Supreme Court in Brinker Rest. Corp. v.
22     Superior Court, 53 Cal. 4th 1004, 1040-41 n. 19 (2012) (“[t]he employer that
23     refuses to relinquish control over employees during an owed meal period violates
24     the duty to provide the meal period and owes compensation”).
25              Should an employer fail to provide an employee with a meal period pursuant
26     to the requirements of the IWC Wage Order, the employer must pay the employee
27     a premium payment of one additional hour of pay for each work day that a meal or
28     rest period is not provided in conformance therewith. See Cal. Lab. Code § 226.7;

                                                    2

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 1     IWC Wage Order No. 4 § 11(b). Such premium payment, pursuant to the
 2     California Supreme Court’s holding in the case of Murphy v. Kenneth Cole
 3     Productions, Inc., 40 Cal. 4th 1094 (2007), is deemed as a wage, and not a penalty.
 4     Id. at 1114.
 5           As the IWC Wage Order further states, if the employee is not “relieved of all
 6     duty” during the meal period, then the meal break will be deemed as an “on-duty”
 7     meal break. IWC Wage Order No. 4 § 11(a). However, in order to qualify for an
 8     “on-duty” meal break exception, the employer must (1) show that the nature of the
 9     work prevents an employee from being relieved of all duty and (2) that a written
10     agreement is entered into between the employer and the employee agreeing to an
11     “on-the-job paid meal period,” with the agreement stating that the employee may,
12     in writing, revoke the agreement at any time. Id. (emphasis added). As the Eastern
13     District of California held, the on-duty meal break exception is provided to allow
14     employers some relief “when the nature of the work in their business overall does
15     not permit a mid-shift meal break” as opposed to looking at each work shift on an
16     individual basis. West v. Circle K Stores, Inc., 2006 U.S. Dist. LEXIS 42074 at
17     *14 (E.D. Cal. June 13, 2006).
18           With respect to rest breaks, the law is even stricter as such breaks cannot be
19     waived nor can they be taken “on-duty.” Specifically, IWC Wage Order No. 4 §
20     12(A) holds as follows:
21           Every employer shall authorize and permit all employees to take rest
22
             periods, which insofar as practicable shall be in the middle of each work
             period. The authorized rest period time shall be based on the total hours
23           worked daily at the rate of ten (10) minutes net rest time per four (4) hours
24           or major fraction thereof. However, a rest period need not be authorized for
             employees whose total daily work time is less than three and one-half (3 ½)
25
             hours. Authorized rest period time shall be counted as hours worked for
26           which there shall be no deduction from wages.
27
             As made clear by the California Supreme Court in Brinker: “[e]mployees are
28
       entitled to 10 minutes rest for shifts from three and one-half to six hours in length,

                                                  3

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 1   20 minutes for shifts of more than six hours up to 10 hours, 30 minutes for shifts of
 2   more than 10 hours up to 14 hours, and so on.” 53 Cal. 4th at 1029; accord Bradley
 3   v. Networkers Int’l, LLC, 211 Cal. App. 4th 1129, 1142-44 (2012) (same).
 4          In addition, an employee’s rest break (as well as meal breaks) must also be
 5   taken “off-duty” and unfettered by the employer. Cal. Labor Code § 226.7(a).
 6   Courts have consistently agreed and held that employers may not impose any
 7   limits on any breaks, including rest breaks, such as dictating what the employee
 8   can do during breaks, or discourage or impede breaks. See, e.g., Dilts v. Penske
 9   Logistics, LLC, 267 F.R.D. 625, 640 (S.D. Cal. 2010) (holding that class
10   certification of rest and meal period claims was warranted where the plaintiffs
11   were required to use Nextel pagers during breaks and stay in communication and
12   breaks were not permitted until all work was finished); Bradley, 211 Cal. App. 4th
13   at 1144 (for an employer to satisfy its break requirements, it must “relieve its
14   employees of all duty and relinquish all control over their activities and not
15   impede or discourage them from doing so”) (emphasis added).3
16          As also explained by the California Division of Labor Standards
17   Enforcement (the “DLSE”), the state agency charged with enforcing and
18   interpreting California’s wage and hour laws, rest breaks must be “duty-free.”
19   DLSE Opinion Letter, Feb. 22, 2002; DLSE Opinion Letter, Jan. 3, 1986
20   (explaining that the purpose of the rest period requirements was to “[e]nsure that
21   the employee would be free from work for ten minutes”).4
22          Finally, it must be noted that, unlike meal breaks which have an “on-duty”
23   meal break exception, there are no such on-duty exceptions for rest breaks under
24
     3 See also Schulz v. QualxServ, LLC, 2012 WL 1439066, *7-8 (S.D. Cal. 2012) (“[t]he [Brinker]
25   Court held that ‘an employer’s obligation is to relieve its employees of all duty with the
     employee thereafter at liberty to use the meal period for whatever purpose he or she desires”;
26   pursuant to the Brinker standard, the District Court held that class certification was appropriate
     because “Plaintiffs challenge the Defendants’ common corporate policy of failing to relieve the
27   technicians of all work during the rest and meal breaks”) (emphasis added); Otsuka v. Polo
28   Ralph Lauren Corp., 251 F.R.D. 439, 442, 447 (N.D. Cal. 2008) (same).
     4
       True and correct copies of the DLSE Opinion Letters are attached as Exhibits to Plaintiff’s
     Request for Judicial Notice.
                                                     4

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 1   California law. Thus, employee rest breaks must be given in an unfettered manner
 2   no matter what the nature of the job entails.
 3          As testified to by Defendant, after an employee is offered employment as a
 4   security officer and such employment is accepted, the employee goes through a
 5   training/orientation session, which is called Security Officer Basic Course or
 6   “SOBC,” before actually starting work. Smidt Dep. 26:2-30:8; 42:6-22; 51:18-
 7   52:13. It is during the SOBC that each employee is presented with Defendant’s
 8   “Security Officer Handbook – For Employees in California” which describes the
 9   rules and regulations for working as security officer for Defendant. Smidt Dep.
10   22:13-24:13; 45:1-5; 83:6-85:8.5 On pages 13 through 14 of both the current and
11   prior versions of Defendant’s Security Officer Handbook, it lists a number of rules,
12   regulations and guidelines Defendant expects its security officers to abide by.
13   Smidt Dep. Exh. 4 & 10. As it states, “[t]he following list identifies conduct that
14   will result in disciplinary action,” which is then followed by a number of specific
15   rules. Id. Of particular importance is Rule No. 26, which states “Sleeping or
16   dozing while on duty (including lunch and breaks).” Id. (emphasis added). In
17   other words, if a security officer sleeps or dozes (i.e., take a rest) during his/her
18   lunch or rest break, the security officer is subject to discipline by Defendant,
19   including termination of employment. Further, each and every employee is
20   required to acknowledge and sign the “Receipt of Employee Handbook” which
21   specifically states that “As a condition of my employment, I agree to abide by the
22   rules and regulations contained therein.” See Smidt Dep. Exh. 4 at p. 37 & Exh. 10
23   at p. 38; Declaration of Gregory Dynabursky (“Dynabursky Dec.”), Exh. A.
24          It is also during this SOBC that each employee is presented with an On Duty
25   Meal Period Agreement.6 Smidt Dep. 41:5-42:22, 44:9-12. While Defendant
26
     5  Copies of Defendant’s current and previous versions of its “Security Officer Employee
27   Handbook – For Employees In California” are attached as Exhibits 4 and 10 to the Smidt
28   Deposition transcript.
     6
       Copies of Defendant’s On Duty Meal Period Agreements are attached as Exhibits 6 and 7 to the
     Smidt Deposition transcript.
                                                   5

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 1   claims that the On Duty Meal Period Agreement is “voluntary” and not a
 2   requirement, the truth of the matter is that all employees must sign the On Duty
 3   Meal Period Agreement to be hired and to actually begin working. Smidt Dep.
 4   49:5-9. As Defendant testified, if an employee does not sign the On Duty Meal
 5   Period Agreement, the employee would not be given a position to work after
 6   completing the SOBC, but instead, the employee would have to re-interview again
 7   to see if there was a job available. Smidt Dep. 49:10-15. Indeed, although
 8   Defendant claimed it did not know what percentage of its employees have signed
 9   the On Duty Meal Period Agreement, it admitted that the majority of its employees
10   have indeed signed the On Duty Meal Period Agreement. Smidt Dep. 55:2-8.
11            Similarly, when asked what percentage of employees are required to take
12   on-duty meal breaks as part of their work shifts, despite being designated as the
13   “Person Most Knowledgeable” on this particular topic, Mr. Smidt claimed that he
14   did not know, although he eventually testified that at least over 50% of the
15   employees are required to work on-duty meal break shifts. Smidt Dep. 129:7-14.
16            As explained by Mr. Smidt and Defendant’s own written policies, an on-
17   duty meal break means that the security officer must eat his/her meal while on duty
18   without being relieved of his/her job duties. Smidt Dep.37:14-19, 38:2-10, 38:20-
19   39:2, 40:2-5, 41:5-42:22, 60:9-17, Exh. 6 & 7. Specifically, Defendant’s on-duty
20   meal break policy prevents the security officer from leaving the client site during
21   meal breaks, and that the security officer is required to remain on duty. Smidt
22   Dep. 72:21-73:2, 93:21-94:6, Exh. 6 & 7. In other words, the security officer
23   cannot be relieved of all duties when they are working an on-duty meal break work
24   shift.
25            With respect to recording the actual taking of meal breaks, as again
26   identified on page 27 of its Security Officer Employee Handbooks (both the
27   current and prior versions), employees that take a true off-duty meal break are
28   required to clock out at the start of their meal break, and then clock back in at the

                                                 6

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 1   end of their off-duty meal break, so that their meal break time is recorded on their
 2   time records. See Smidt Dep. Exhs. 4 & 10. Further, as testified to by Defendant,
 3   should an employee take an off-duty meal break and clock out/in, such time
 4   records would ultimately be uploaded to Defendant’s payroll system, known as
 5   Win-Team System. Hudson Dep. 20:3-13, 22:18-23:11, 23:12-24:11, 32:25-33:9.
 6   Indeed, Defendant can easily obtain and print out the entirety of each security
 7   officer’s daily time records, known as the “Timekeeping Report,” from the Win-
 8   Team System. Hudson Dep. 43:21-44:16; 53:22-54:2.7 Moreover, as testified to
 9   by Defendant, and as clearly shown on the Timekeeping Report, there is a column
10   entitled as “Lunch” which Defendant testified that it is to track the amount of time
11   an employee took for his/her meal break. Hudson Dep. 43:21-44:16; 48:14-50:7.
12           Plaintiff was no different. During his employment with Defendant, he was
13   also required to not only sign the On Duty Meal Period Agreement, but also
14   actually work shifts that required him to take on-duty meal breaks. Dynabursky
15   Dec. ¶¶ 6. Similarly, during his employment with Defendant, Plaintiff was not
16   allowed to take unfettered/duty-free rest breaks. Dynabursky Dec. ¶3-5. Instead,
17   Plaintiff was required to keep his communication radio in operation, respond to
18   any calls, and not allowed to sleep, nap, or take any true rest. Dynabursky Dec. ¶3-
19   5.
20           It is Plaintiff’s position that Defendant’s company-wide written policy
21   forbidding security officers from taking any unfettered off-duty meal and rest
22   breaks is invalid, unlawful and constitute as violations of California Labor Code §
23   226.7 and IWC Wage Order No. 4 §§ 11 & 12. Based on such admitted company-
24   wide policies, class certification based on such claims should be granted. Indeed,
25   to the extent Defendant attempts to assert a defense under the on-duty meal break
26   exception (which it cannot), such a defense can and must still be tried on a class-
27   wide basis as set forth under case law precedent.
28   7
      A copy of Plaintiff’s Timekeeping Report is attached to the Smidt Deposition Transcript as
     Exhibit 9.
                                                  7

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 1          For the reasons explained above, and as further described below, Plaintiff
 2   respectfully requests that this Court grant the current Motion.
 3   III.   ALL THE REQUIREMENTS FOR CLASS CERTIFICATION ARE
 4          MET
 5          Rule 23 of the Federal Rules of Civil Procedure authorizes class actions
 6   when the class is so numerous that joinder of all members is impracticable, there
 7   are questions of law or fact common to the class, the claims or defenses of the
 8   representative parties are typical of the claims or defenses of the class, and the
 9   representative parties will fairly and adequately protect the interests of the class.
10   See FED. R. CIV. P. 23(a). Additionally, the requirements of at least one subsection
11   of Rule 23(b) must be satisfied.
12          Plaintiff here seeks to certify (1) all of Defendant’s past and present
13   California employees who worked more than 6 hours in any work shift as a
14   Security Officer from December 21, 2008 through the present; and (2) all
15   Defendant’s past and present California employees who worked 3.5 hours or more
16   in any work shift as a Security Officer from December 21, 2008 through the
17   present. Plaintiff additionally seeks certification of three Subclasses of current and
18   former employees who worked for Defendant as follows:
19          (a) all of Defendant’s past and present California employees who worked
20          more than 6 hours in any “on-duty meal break” work shift as a Security
            Officer from December 21, 2008 through the present;
21          (b) all of Defendant’s past and present California employees who worked
22          more than 6 hours in any “on-duty meal break” work shift as a Security
            Officer from December 21, 2008 through the present who received itemized
23          wage statements; and
24          (c) all of Defendant’s past and present California employees who worked 3.5
            hours or more in any work shift as a Security Officer from December 21,
25          2008 through the present who received itemized wage statements.
26          A.    The Requirements of FED. R. CIV. P. 23(a) are Met
27                1.     The Class and Subclasses Are Ascertainable and Meet
28                       Numerosity

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 1          Rule 23(a)(1) requires the proposed classes to be “so numerous that joinder
 2   of all members is impracticable.” “‘Impracticabilty’ does not mean
 3   ‘impossibility,’ but only the difficulty or inconvenience of joining all members of
 4   the class.” Harris v. Palm Springs Alpine Estates, Inc., 329 F.2d 909, 913-14 (9th
 5   Cir. 1964) (citation omitted).
 6          The Classes and Subclasses are both ascertainable, from Defendant’s own
 7   records, and are sufficiently numerous. All of Defendant’s California Security
 8   Officers are non-exempt hourly paid employees. Smidt Dep. 16:25-18:14. In
 9   addition, Defendant admits that the typical (or most of the) security officer work
10   shift is an 8 hour shift. Smidt Dep. 63:3-9. Moreover, Defendant has identified
11   that there are well over 15,000 individuals who fall within the putative class.
12   Defendant’s Responses to Plaintiff’s Special Interrogatory Set One, Nos. 2 &3
13   (Defendant has employed over 15,600 security officers in California during the
14   class period).8 As already discussed above, more than half of its work shifts
15   require an on-duty meal break. Similarly, Defendant has admitted that every
16   security officer receives an itemized wage statement/pay stub with each pay check.
17   Hudson Dep. 20:20-21:24. Thus, the numerosity would be equally satisfied for the
18   Sub-classes. Further, based on the Class size, only a very small percentage – as
19   little as 1% -- would be required to satisfy the numerosity requirement as to each
20   Subclass. Thus, Plaintiff has satisfied the numerosity requirement for the Classes
21   and Sub-Classes he seeks to certify.
22                 2.      There Are Common Questions of Law and Fact
23          There must be “questions of law or fact common to the class.” Fed. R. CIV.
24   P. 23(a)(2). This requirement “has been construed permissively.” Hanlon v.
25   Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). Indeed, “[t]he existence of
26   even one significant issue common to the class is sufficient to warrant
27   certification.” Californians for Disability Rights v. Dept. of Transp., 249 F.R.D.
28   8
       A true and correct copy of Defendant’s Responses to Plaintiff’s Interrogatories Set No. One is
     attached to the Declaration of Larry Lee (“Lee Dec.”) as Exhibit D.
                                                    9

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 1   334, 346 (N.D. Cal. 2008). Commonality is satisfied “where the lawsuit
 2   challenges a system-wide practice or policy that affects all of the putative class
 3   members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001). This case only
 4   contains a limited number of questions of law and fact, all of which easily satisfy
 5   the commonality requirement as to the Classes and Subclasses seeking certification
 6   in this action:
 7
               • Does Defendant’s own written company-wide policy of precluding
 8               security officers from resting during their meal breaks result in
                 Defendant’s failure to provide off-duty meal breaks in violation of
 9               California law?
10             • Does Defendant’s own written company-wide policy of precluding
                 security officers from resting during their rest breaks result in
11
                 Defendant’s failure to provide off-duty rest breaks in violation of
12               California law?
13             • Does Defendant’s wage statements violate Labor Code § 226 based on
                 the above meal and break violations?
14
               • Are any of the above violations unlawful, unfair or fraudulent
15               business practices in violation of Business & Professions Code §§
                 17200 et seq.?
16
17          As recently held by Judge Carter in a nearly identical case, such questions
18   sufficiently meet the commonality requirement. See Avilez v. Pinkerton Gov't
19   Servs., 286 F.R.D. 450, 465-66 (C.D. Cal. 2012). Based thereon, there exist
20   common questions of law and fact.
21                 3.    Representative Plaintiff’s Claims are Typical
22          In Hanlon, the Ninth Circuit held that under Rule 23(a)(3)’s permissive
23   standards, “representative claims are ‘typical’ if they are reasonably co-extensive
24   with those of absent class members; they need not be substantially identical.”
25   Hanlon, 150 F.3d at 1020. It is enough if named Plaintiff and class members share
26   a “common issue of law or fact.’” California Rural Legal Assistance v. Legal
27   Servs. Corp., 917 F.2d 1171, 1175 (9th Cir. 1990) (citations omitted). Under the
28   low threshold of typicality, all that is required is that each plaintiff has an incentive

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 1   to prove defendant’s liability. Thomas & Thomas Rodmakers, Inc. v. Newport
 2   Adhesives & Composites, Inc., 209 F.R.D. 159, 165 (C.D. Cal. 2002).
 3         Here, typicality is readily satisfied. The proposed representative Plaintiff
 4   seeks recovery based upon the same legal theories and factual circumstances as the
 5   Classes and Subclasses he is in. The claims in the current case rise and fall on the
 6   sole determination of whether Defendant’s written company-wide policy that
 7   forbids security officers from sleeping or resting during their meal and rest breaks
 8   is legally valid. To the extent Defendant attempts to assert a defense under the
 9   “on-duty” meal period exception, which would only apply to a subclass, class
10   certification should still be granted under the established case law of this District
11   (and other Districts).
12         For such reasons, Plaintiff’s claims are typical of those of the class
13   members.
14                4.     The Adequacy Requirement Is Met
15         To determine whether the class representative meets the standard of Rule
16   23(a)(4), two questions are asked: “(1) Does the representative Plaintiff and his
17   counsel have any conflicts of interest with other class members, and (2) will the
18   representative Plaintiff and his counsel prosecute the action vigorously on behalf of
19   the class?” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003) (citations
20   omitted).
21                       a.     Plaintiff Is An Adequate Representative
22         As established above, Plaintiff shares common interests with the defined
23   Classes and Subclasses, have claims typical of class members’ claims, and are
24   fully prepared to take all necessary steps to fairly and adequately represent the
25   Classes and Subclasses he represents. Dynabursky Dec. ¶¶ 8-10. No conflicts of
26   interest exist and the representative will continue to adequately and vigorously
27   prosecute this action. Dynabursky Dec. ¶¶ 8. Plaintiff has agreed to abide by all of
28   the necessary duties of a class representative, including assisting counsel in the

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 1   litigation. Dynabursky Dec. ¶¶ 9-10. Accordingly, Plaintiff is an adequate
 2   representative.
 3                         b.   Competent Class Counsel
 4          As detailed in their declarations, Plaintiff’s Counsel are experienced class
 5   action litigators who have litigated many wage and hour class actions and have
 6   each been certified as class counsel in numerous other class actions, particularly
 7   wage and hour class actions. Lee Decl. ¶¶ 2-7; Declaration of Edward Choi (“Choi
 8   Dec.”)¶ 5. Plaintiff’s Counsel has diligently litigated this case, and will continue
 9   to do so. Plaintiff’s Counsel has taken the deposition of Defendant’s 30(b)(6)
10   witnesses on two separate occasions, propounded and responded to discovery, and
11   have pursued matters in law and motion as deemed necessary. Lee Dec. ¶¶ 8-13;
12   Declaration of Dennis Hyun (“Hyun Dec.”). ¶ 9; Choi Decl.¶¶ 3, 7. Plaintiff’s
13   Counsel’s only relationship with Plaintiff is the attorney-client relationship in this
14   matter. Lee Decl. ¶ 10; Hyun Dec. ¶ 10; Choi Decl.¶ 8. Accordingly, Plaintiff’s
15   Counsel is adequate and will continue to vigorously prosecute this action on behalf
16   of the class.
17          B.       The Predominance Requirement of FED. R. CIV. P. 23(b)(3) is
18                   Met
19          Rule 23(b)(3) requires two separate inquiries: (1) do issues common to the
20   class “predominate” over issues unique to individual class members; and (2) is the
21   proposed class action “superior” to other methods available for adjudicating the
22   controversy. See FED. R. CIV. P. 23(b)(3). Here, the requirements of Rule
23   23(b)(3) are satisfied.
24          “The Rule 23(b)(3) predominance inquiry tests whether proposed classes are
25   sufficiently cohesive to warrant adjudication by representation.” Hanlon, 150 F.3d
26   at 1022 (citation omitted). Plaintiff contends that Defendant has uniform practices
27   and policies which resulted in Labor Code violations. The evidence shows that
28   Defendant has centralized and standardized operations which will support

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 1   certification here. Each of the claims is predicated on common uniform written
 2   policies that apply equally company-wide, making Plaintiff’s claims ideally suited
 3   for class action treatment.
 4         Specifically, Defendant provides all security officers with the same
 5   employee handbook. Smidt Dep. 22:13-24:13; 45:1-5; 83:6-85:8, Exhs. 4 & 10.
 6   Both the current and previous versions of the handbook contain the identical
 7   “Employee Conduct and Work Rules” policy regarding the security officers’
 8   inability to take unfettered rests during their meal and rest breaks. Smidt Dep.
 9   Exhs. 4 & 10. Specifically, both the current and prior versions of the Security
10   Officer Employee Handbook state that an employee is precluded from “Sleeping or
11   dozing while on duty (including lunch and breaks)” and that if the employee
12   breaks this rule, he/she will be subject to discipline, including termination. Indeed,
13   each and every security officer is required to sign and acknowledge that he/she
14   will abide by such rules, or be subject to discipline. See Smidt Dep. Exh. 4 at p.
15   37 & Exh. 10 at p. 38; Dynabursky Dec., Exh. A.
16         Further, Defendant’s Security Officers’ time and payroll records are
17   retained, stored, and can easily be accessed by Defendant, including the amount of
18   time an employee took for an off-duty meal break (if any). Hudson Dep. 43:21-
19   44:16; 48:14-50:7; 53:22-54:2. Thus, Defendant’s operations and policies are
20   standardized and Plaintiff can easily refer to such policies and records to show
21   class-wide violations and to determine a measure of damages, thus rendering
22   Plaintiff’s claims ideally suited to class treatment. These records and common
23   policies will also show that common questions predominate as to the claims
24   asserted by Plaintiff on behalf of the Classes and the Subclasses he represents.
25                1.     Failure to Provide Unfettered Meal Breaks
26         Labor Code § 226.7 requires employers to comply with California Industrial
27   Welfare Commission (“IWC”) Wage Order No. 4 § 11(a) regarding meal periods.
28   Section 11(a) provides that employees who work in excess of five hours a day

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 1   must be provided with a 30-minute meal break and, further, that employees who
 2   work in excess of ten hours per day must be provided with a second 30-minute
 3   meal period. However, if, and only if, the employee’s work shift is 6 hours or less,
 4   then the meal break may be mutually waived. Further, as the IWC Wage Order
 5   holds, such meal periods must be unfettered – i.e., when taking such meal periods,
 6   the employee must be “relieved of all duty” during the entire 30-minute meal
 7   period. IWC Wage Order No. 4 § 11(a). As the IWC Wage Order further states, if
 8   the employee is not “relieved of all duty” during the meal period, then the meal
 9   break will be deemed as an “on-duty” meal break. Id. However, in order to
10   qualify for an “on-duty” meal break, the employer must meet certain requirements,
11   as further discussed below. Id.
12         Finally, should an employer fail to provide an employee with a meal period
13   pursuant to requirements of IWC Wage Order, the employer must pay the
14   employee a premium payment of one additional hour of pay for each work day that
15   a meal or rest period is not provided. See Cal. Lab. Code § 226.7; IWC Wage
16   Order No. 4 § 11(b).
17         Defendant clearly failed to provide meals in compliance with California law.
18   As its own employee handbook states, security officer employees are not allowed
19   to sleep or rest during their meal breaks, and thus, such employees are still subject
20   to control by Defendant even during their supposed “duty-free” meal breaks.
21   Indeed, as recently discussed by the California Supreme Court, “[e]mployers must
22   afford employees uninterrupted half-hour periods in which they are relieved of
23   any duty or employer control and are free to come and go as they please. Brinker,
24   53 Cal. 4th at 1037 (emphasis added). As the California Supreme Court further
25   stated, the very purpose and public policy of meal and rest breaks is to protect
26   employees and allow them to take rests. Id. at 1037-38.
27         Here, Defendant’s own written company-wide policy is a clear violation of
28   California’s meal break rules, as it specifically precludes the security officer from

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 1   resting during his/her meal break, and further subjects the security officer to
 2   Defendant’s continued control. Thus, the predominant issue here is whether
 3   Defendant’s own written company-wide policy of precluding security officers from
 4   resting during their meal breaks result in Defendant’s failure to provide off-duty
 5   meal breaks in violation of California law. As Judge Carter recently held in the
 6   published class certification ruling from Avilez, this very question is sufficient in
 7   finding predominance for purposes of class certification. Avilez, 286 F.R.D. at
 8   466-69 (in granting class certification to a group of security officer employees,
 9   Judge Carter held that the common question of “Did Defendant’s policy requiring
10   that each Security Guard take only an ‘on-the-job meal period’ result in
11   Defendant's practice of failing to provide off-duty meal periods, thus violating
12   California Labor Code 226.7 and Wage Order 4-2001 § 11” to predominate). Just
13   as in Avilez, here, Plaintiff’s prima facie case of establishing Defendant’s failure to
14   provide off-duty meal breaks will be based on Defendant’s own words and conduct
15   (i.e., Defendant’s written policies and timekeeping report records). Id. at 469.
16         Plaintiff expects Defendant to rely upon the “on-duty meal” exception as its
17   main defense to this Motion. It is critical to acknowledge that the “on-duty meal”
18   exception is an affirmative defense and that the employer is required to establish
19   each and every one of the elements in order to meet this exception. Avilez, 286
20   F.R.D. at 463 (holding “the statutory exception allowing for on-duty meal breaks
21   where the "nature of the work" and other requirements are met is an affirmative
22   defense for which Defendant bears the burden”). Further, in order to meet this
23   exception, the employer must show (1) show that the nature of the work prevents
24   an employee from being relieved of all duty and (2) that a written agreement is
25   entered into between the employer and the employee agreeing to an “on-the-job
26   paid meal period,” with the agreement stating that the employee may, in writing,
27   revoke the agreement at any time. IWC Wage Order No. 4 § 11(a). Such a
28   defense is meritless and is not an appropriate argument to deny this Motion for

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 1   numerous reasons.
 2         First, Defendant is not entitled to the “on-duty” meal period defense due to
 3   the fact that Defendant has waived this defense as it has not asserted this defense as
 4   an affirmative defense in its Answer to Plaintiff’s Complaint. Specifically,
 5   nowhere in its Answer to Plaintiff’s Complaint, including the twenty four (24)
 6   affirmative defenses it asserted, does Defendant identify the “on-duty” meal period
 7   exception as a defense. Thus, under established case law, Defendant’s failure to
 8   assert this defense in its Answer constitutes as a waiver and, therefore, Defendant
 9   cannot rely upon any such defense. See, e.g., In re Cellular 101, Inc., 539 F.3d
10   1150, 1155 (9th Cir. 2008) (reiterating that affirmative defenses must be pled in the
11   answer or they are waived) (citing FRPC 8(c) (“[i]n responding to a pleading, a
12   party must affirmatively state any avoidance or affirmative defense”); Bibo v.
13   Federal Exp., Inc., 2009 WL 1068880, *6 (N.D. Cal. 2009) (holding that employer
14   waived collateral estoppel defense to meal break claim because it was not pled in
15   its answer).
16         Second, even if the on-duty meal exception argument is considered (which it
17   should not be), such a defense is to be tried on a class-wide basis, and not on an
18   individualized basis as Defendant will attempt to argue. Indeed, the established
19   case law of this District and other District Courts hold that the on-duty meal
20   exception factors are to be determined on a class-wide basis. Specifically, starting
21   with West v. Circle K Stores, the U.S. District Court considered this exact
22   argument and rejected it. 2006 U.S. Dist. LEXIS 42074 at *13-*14 (E.D. Cal.
23   June 13, 2006). In particular, the Court stated as follows:
24             At all times during the proposed the class period, defendant
25
               required employees to sign some form of "meal period
               agreement" (or waiver) that included the nature of the work
26             exception. Nevertheless, defendant originally argued that
27             evaluating the enforceability of the waiver would require an
               individual inquiry into the nature of each employee's work
28
               on every shift where that employee missed a meal break.

                                               16

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 1             Depending on the traffic in a given store on a given shift,
 2             defendant argued, the nature of the work may have precluded
               an off-duty meal break, and these individual inquiries defeat
 3             commonality.
 4
               However, this argument would again involve the court in a
 5
               determination of the merits of the case. The parties have not
 6             provided the court with any authority establishing that the
 7
               nature of the work exception applies on a case-by-case, shift-
               by-shift basis. Indeed, such a rule would potentially
 8             eviscerate the protections provided by California Labor Code
 9             § 226.7, as every employer would defend against a claim of
               missed meal periods by arguing that, because of the nature
10
               of the employee's work on that day, he was too busy to take a
11             break. Instead, the exception was more likely provided to
12
               allow employers some relief when the nature of the work in
               their business overall does not permit a mid-shift meal
13             break.
14
15   Id. If this is not enough, the Central District itself has agreed that the on-duty meal
16   exception is to be determined on a class-wide basis, and not subject to
17   individualized inquiry. For example, in Avilez, the Court also agreed that the on-
18   duty meal exception is to be determined on a class-wide basis. Avilez, 286 F.R.D.
19   at 470-71. Similarly, Judge King in Abdullah v. U.S. Security Assocs., in granting
20   class certification on nearly identical facts, also rejected the argument that this
21   defense would require individualized inquiry. 2011 U.S. Dist. LEXIS 156685 at
22   *11-13 (C.D. Cal. Jan. 11, 2011). These are the legal authorities from other
23   District Courts that are directly on point, and which completely rejects Defendant’s
24   current argument. It is doubtful that Defendant will be able to provide any
25   authority to dispute these holdings.
26         Notwithstanding, other recent rulings from other District Courts further
27   support Plaintiff’s argument. In Delagarza v. Tesoro Ref. & Mktg. Co., the
28   employees were also subjected to on-duty meal breaks, which plaintiffs alleged
     were unlawful. 2011 U.S. Dist. LEXIS 101127, *2-*4 (N.D. Cal. Sept. 8, 2011).
                                                17

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 1   In granting class certification of this claim, the Court also considered and rejected
 2   defendant’s argument that the various job duties of the employees required
 3   individual inquiries into the nature of the work defense. Id. at *19-*20. However,
 4   the legal authority in support of Plaintiff’s position does not stop there. In fact, the
 5   Ninth Circuit has ruled upon the class certification issue as it relates to on-duty
 6   meal breaks in United Steel Workers v. ConocoPhillips Co., 593 F.3d 802 (9th Cir.
 7   2010). In reversing a denial of class certification on an on-duty meal break claim,
 8   the Ninth Circuit held that the District Court was to look at the actual theory
 9   presented by the plaintiffs and whether it presented common questions of law or
10   fact. Id. at 808. Indeed, the Ninth Circuit’s ruling was specifically relied upon by
11   the DeLagarza Court in granting class certification. DeLagarza, 2011 U.S. Dist.
12   Lexis 101127 at *44-*45. United Steel Workers’ holding has been further
13   supported by the California Supreme Court’s ruling in Brinker, wherein the
14   California Supreme Court held that on a class certification motion regarding meal
15   breaks, “a trial court must examine the plaintiff’s theory of recovery, asses the
16   nature of the legal and factual disputes likely to be presented, and decide whether
17   individual or common issues predominate.” Brinker, 53 Cal. 4th at 1025.
18         Indeed, the fact that Defendant presents the identical “On-Duty Meal Period
19   Agreement” to each employee during its orientation and, thus, does so on a class-
20   wide basis, is inconsistent with its “after-the-fact” individualized inquiry argument.
21   In other words, if Defendant now attempts to argue that the on-duty meal exception
22   requires individualized inquiry depending on each person’s jobs, duties, etc… then
23   Defendant should not be presenting its On Duty Meal Agreement to all of its
24   employees on a wholesale basis, but rather should be presented to the employee
25   when the actual job position meets the requirements for an on-duty meal period.
26         Finally, even assuming Defendant is allowed to argue that the on-duty meal
27   exception requires individualized inquiry, the facts still support certification as the
28   nature of the security officer’s jobs are nearly identical. For example, in its

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 1   Security Officer Employee Handbook, on pages 5 to 7, it gives a detailed
 2   description of what the typical job duties are for a security officer. See Smidt Dep.
 3   Exhs. 4 & 10. Further, the job advertisements posted by Defendant on its own
 4   website show that the job duties for various different locations are indeed nearly
 5   identical. See Exh. E to Lee Declaration. Thus, any argument by Defendant that
 6   each position’s job duties are varied and thus requiring an individualized inquiry is
 7   not supported by Defendant’s own written documents, and thus any such argument
 8   is meritless and cannot be used to defeat class certification. See also Avilez, 286
 9   F.R.D. at 471-72 fn. 24.
10         In essence, the requirement of an admitted written policy of precluding
11   security officers from taking any actual rest during their meal and rest breaks, and
12   which is subjected upon all of their employees, are class issues. Defendant may
13   argue the validity of the on-duty meal agreements or that despite requiring on-duty
14   meals there is no violation of the law. But even these defenses support a grant of
15   certification as these are class issues as well. Whatever the outcome on these
16   claims and defenses, the class vehicle would be the most efficient way to deal with
17   such claims and defenses.
18                2.     Failure to Provide Unfettered Rest Breaks
19         There should be no reason to deny class certification to this claim as
20   Defendant’s written company-wide policy is perfectly suited to try this claim on a
21   class-wide basis. As already discussed above, Defendant’s written policy
22   specifically forbids its security officers from resting during their rest breaks. See
23   Smidt Dep. Exhs. 4 & 10. In fact, even Defendant’s own testimony supports this
24   illegal policy. For example, Defendant testified that certain sites require officers to
25   keep communication devices on them during rest breaks and that they are subject
26   to call back during their rest breaks. Smidt Dep. 114:8-116:13. Even for those
27   security officers who do not carry communication devices, such employees are still
28   subject to being called back while on their rest breaks. Smidt Dep. 116:23-117:11.

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 1   Indeed, this very well explains why the security officers are forbidden from taking
 2   a nap or rest during their rest breaks (and meal breaks); because they are
 3   continuously on-call, working, and subject to Defendant’s control during the
 4   breaks.
 5          Thus, because Defendant is able to dictate and control what the security
 6   officer is able to do on his/her rest break, the rest break is not unfettered and the
 7   security officer continues to be under Defendant’s control.
 8          As discussed above, California law specifically requires employees to be
 9   free of any employer control during their rest break, and to take such breaks in an
10   unfettered manner. Cal. Labor Code § 226.7(a). Further, while Defendant may
11   attempt to argue the on-duty meal exception to Plaintiff’s meal break claim, no
12   such exception or waiver exists for rest breaks. Indeed, this was specifically ruled
13   upon by the California Supreme Court. See Brinker, 53 Cal. 4th at 1033. As the
14   California Supreme Court admonished: “[a]n employer is required to authorize and
15   permit the amount of rest break time called for under the wage order for its
16   industry. If it does not ... it has violated the wage order and is liable. No issue of
17   waiver ever arises for a rest break that was required by law but never
18   authorized; if a break is not authorized, an employee has no opportunity to decline
19   to take it.” Id. (emphasis added); see also Bradley, 211 Cal. App. 4th at 1143-44
20   (same); Bufil v. Dollar Fin. Group, Inc., 162 Cal. App. 4th 1193, 1205 (2008) (“the
21   purported meal period waivers had nothing to do with the rest period claims
22   because an employee cannot waive such claims”; “[t]he permitted waiver of the
23   meal requirement applies only to meal periods, not to rest breaks”) (emphasis
24   added).9
25
     9 See also Ortega v. J.B. Hunt Transport, Inc., 2012 WL 6708161, *2 (C.D. Cal. 2012) (“Brinker
26
     requires that an employer must sufficiently provide a break before an employee’s reasons for
27   foregoing the break become analytically significant”); In re Taco Bell Wage and Hour Actions,
     2012 WL 5932833, *4 (E.D. Cal. 2012) (“Plaintiffs’ claim is based on a facially unlawful policy,
28   making any issues of waiver irrelevant”); Avilez, 286 F.R.D. at 471 (“Given that the nature of the
     work was irrelevant to the law governing rest breaks, the document that the defendant required
     employees to sign stating that the nature of work prevented off-duty meal breaks was not
                                                     20

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 1          Here, based on Defendant’s admitted written policy, it can hardly be said
 2   that its security officers were authorized to take unfettered rest breaks. Rather, the
 3   opposite is true. For each and every rest break that is authorized, the security
 4   officer continues to be under Defendant’s control through its policy preventing the
 5   security officer from taking a true rest break. Because Plaintiff’s rest break claim
 6   rises and falls entirely upon Defendant’s written policy, and nothing else, class
 7   certification should be granted in this regard.
 8                  3.      Failure to Provide Accurate Wage Statements
 9          Labor Code Section 226(a) requires employers to keep accurate records and
10   provide itemized wage statements every pay period, which include:
11
            (1) gross wages earned, (2) total hours worked … (5) net wages earned,
12          … (8) the name and address of the legal entity that is the employer, and
            (9) all applicable hourly rates in effect during the pay period and the
13          corresponding number of hours worked at each hourly rate by the
14          employee.
15          Courts have held that when an employee’s wage statements are incorrect, the
16   employee automatically suffers injury, as required by Labor Code § 226(e),
17   because, among other things, the employee might not be paid wages to which
18   he/she is entitled and would face the necessity of bringing a lawsuit. See Ortega v.
19   J.B.Hunt Transport, Inc., 258 F.R.D. 361, 374 (C.D. Cal. 2009). Indeed, in the
20   Avilez case, in granting certification upon the underlying meal break claims, the
21   Court also certified the attendant Labor Code § 226 claims as such claims are
22   predicated upon the meal break claims. Avilez, 286 F.R.D. at 472-73. Moreover,
23   Labor Code § 226 (e) has been recently amended to state that “[a]n employee is
24   deemed to suffer injury for purposes of this subdivision if the employer fails to
25   provide accurate and complete information as required by any one or more of the
26   items (1) to (9), inclusive of subdivision (a) and the employee cannot promptly and
27   easily determine from the wage statement alone one or more of the following”.
28
     relevant to the putative class's claim for rest break violations.”)
                                                       21

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 1   Labor Code §226(e)(2)(B).
 2         In this action, as set forth above, Defendant fails to keep accurate records of
 3   employees’ wages earned by not paying meal and rest period wage premiums for
 4   the unlawful meal and rest periods. Smidt Dep. 93:21-94:11. Because such
 5   premium payments are deemed as “wages” pursuant to Murphy as described
 6   above, and because Defendant failed to pay Plaintiff and the putative class such
 7   premium wage payments for missed meal breaks, such failure would result in a
 8   violation of Labor Code § 226(a). In other words, Plaintiff’s current Labor Code §
 9   226 claim is also predicated upon his meal and rest break claims. For these
10   reasons Plaintiff believes that class certification is warranted for the Class(es)
11   and/or Sublcass(es).
12                4.     Plaintiff’s Unfair Business Practices Claim
13         Business and Professions Code § 17200 et seq. prohibits any unlawful,
14   unfair or fraudulent business act or practice. Plaintiff’s Business and Professions
15   Code claim is predicated upon Defendant’s violations of the Labor Code, as set
16   forth above. Under Business & Professions Code § 17200, adjudication of
17   Defendant’s liability is based solely upon a determination as to whether
18   Defendant’s employment policies and practices are deceptive, unfair or unlawful.
19   See Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163,
20   180 (1999). Because this claim is derivative of Plaintiff’s Labor Code claims, a
21   finding of predominance so as to warrant certification of any of the Classes and
22   each of the Subclasses alleging these claims likewise supports certification as to
23   the §17200 claim.
24         C.     A Class Action Is the Superior Method for Adjudication
25         Class treatment is clearly superior to any other method of resolving
26   Plaintiff’s claims. Sav-On Drug Stores, Inc. v. Superior Court, 34 Cal. 4th 319,
27   340 (2004). Because Plaintiff’s claims are based on common policies and
28   practices, these claims can be most efficiently litigated on a class-wide basis. The

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 1   alternative would be the unrealistic filing of thousands, or even tens of thousands,
 2   of individual claims, posing the serious disadvantages pointed out by the Sav-On
 3   court. Because the putative class members are hourly employees, with relatively
 4   modest individual claims and limited resources, there is a strong likelihood that
 5   individual actions would never be brought. See Local Joint Exec. Bd. of
 6   Culinary/Bartender Trust Fund, 244 F.3d 1152, 1163 (9th Cir. 2001) (superiority
 7   requirement met where class members would recover, at most, about $1,330).
 8   Moreover, many class members might not bring individual actions out of fear of
 9   retaliation.10 Finally, this action is manageable and well-suited for class
10   certification where Defendant’s own payroll records, including dates of
11   employment, paycheck stubs, and timesheets can be used to show the violations
12   and measure damages.
13           The factors discussed above support a finding of superiority pursuant to Rule
14   23(b)(3), and there are no factors weighing against it, as class members have no
15   adverse individual interests.
16   IV.     A CLASS-WIDE TRIAL IS MANAGEABLE
17           “The amount of damages is invariably an individual question and does not
18   defeat class action treatment.” Blackie v. Barrack, 524 F.2d 891, 905 (9th Cir.
19   1975). Here, damages can easily by ascertained through analysis of Defendant’s
20   records, without testimony from any class member. Based on Defendant’s payroll
21   data, Plaintiff expects to be able to determine the unpaid meal and rest break
22   premiums solely from a review of class members’ time records. Specifically, it is
23   Plaintiff’s position that each and every meal and rest break is non-compliant based
24   on Defendant’s own admitted corporate policy. Thus, for the meal break claim, all
25   that will be required is to count how many work shifts are over 6 hours in length
26   during the class period, and for each such work shift, the respective employee’s
27
     10
28      See O’Donnell v. TD Ameritrade, Inc., 2008 U.S. Dist. LEXIS 49829, at *11 (S.D. Cal. 2008)
     (“federal courts have widely recognized that fear of retaliation for individual suits against an
     employer is a justification for class certification in the arena of employment litigation”).
                                                    23

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 1   hourly rate of pay shall constitute as the unpaid meal break premium. Similarly,
 2   for the rest break claim, all that will be required is to count how many shifts are 3.5
 3   hours or more in length during the class period, and for each such work shift, the
 4   respective employee’s hourly rate of pay shall constitute as the unpaid rest break
 5   premium.
 6           Similarly, with respect to Plaintiff’s claim for violation of Labor Code §
 7   226, as that claim is premised upon Plaintiff’s meal and rest break claim, and as the
 8   penalties for Labor Code § 226 violations are set as $50/$100 per pay period,
 9   again, once it is determined that Defendant’s meal and rest breaks are invalid or
10   unlawful, Labor Code § 226 penalties can be easily calculated. For every pay
11   period that an employee works an unlawful meal or rest break work shift, Labor
12   Code § 226’s penalty will apply. Again, there will not be any testimony required
13   from class members.
14           Indeed, such damages are amenable to summary judgment, where this Court
15   may enter an actual dollar value (plus interest) for each class member. In addition,
16   there will be some remaining issues for trial, but the vast majority of the damages
17   claimed here are subject to determination from Defendant’s records and can be
18   dispositively determined through motion practice. This is about as ideal a case for
19   post-certification manageability as there can be in the wage and hour context.
20   V.      CLASS CERTIFICATION SHOULD BE GRANTED
21           Based on Defendant’s own evidence, namely its written policy regarding the
22   security officer’s inability to sleep, nap or rest during the meal and rest breaks,
23   class certification can and should be granted. Ortega v. J.B. Hunt Transport, Inc.,
24   2012 WL 6708161, *2 (C.D. Cal. 2012) (in denying the defendant’s motion for
25   decertification of class, the District Court reiterated that “the Brinker court
26   observed that an ‘employer may not undermine a formal policy of providing meal
27   breaks by pressuring employees to perform their duties in ways that omit
28   breaks’”); Schulz v. QualxServ, LLC, 2012 WL 1439066, *4 (S.D. Cal. 2012)

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 1   (finding commonality where plaintiffs challenged uniform policies in alleging a
 2   failure to provide meal and rest breaks); Dilts, 267 F.R.D. 625, 640 (S.D. Cal.
 3   2010) (granting class certification and finding commonality because defendants'
 4   “policies were common across [d]efendant’s California facilities” and case was
 5   subject to common proof, namely whether the “policies deprived the putative class
 6   members of meal periods,” and “common legal questions, such as [d]efendant’s
 7   obligations” under the California Labor Code).
 8         For such reasons, this Motion should be granted.
 9   VI.   CONCLUSION
10         For the foregoing reasons, Plaintiff respectfully requests this Court grant
11   his motion and certify the Classes and/or Subclasses.
12
13   DATED: March 26, 2013                  DIVERSITY LAW GROUP, APC

14
                                            By:    /S/LARRY W. LEE
15                                                 Larry W. Lee, Esq.
                                                   Attorney for Plaintiff and the class
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